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                            IN THE UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

NESTOR BERON, ON BEHALF OF                     CASE NO.: 8:10-CV-1014-T33-TBM
HIMSELF AND THOSE SIMILARLY
SITUATED,

               Plaintiff,

vs.

MIGUEL ALVAREZ, D/B/A
GUSTECH COMMUNICATIONS -
ORLANDO,

            Defendant.
____________________________/

                 PLAINTIFF’S MOTION FOR EXTENSION OF
      DEADLINE TO SUBMIT AFFIDAVIT OF ATTORNEYS’ FEES AND COSTS
               ASSOCIATED WITH HIS MOTION TO COMPEL

        Plaintiff, NESTOR BERON, by and through his undersigned counsel, and pursuant to

Fed. R. Civ. P. 6(b)(1), hereby moves this Court for an extension of the deadline to submit an

affidavit of costs and expenses associated with Plaintiff’s Motion to Compel (D.E. 25) from

March 1, 2011 to March 14, 2011, and in support thereof states:

       1.      On February 14, 2011, this Court entered an Order (D.E. 25) granting Plaintiff’s

Motion to Compel Discovery (D.E. 24) and directed Plaintiff’s Counsel submit an affidavit of

costs and expenses associated with Plaintiff’s Motion to Compel on or before March 1, 2011.

       2.      Subsequent to this Court’s Order (D.E. 25), Defendant filed a Motion for

Reconsideration (D.E. 26), and the Parties also requested, and were granted, a status conference

before this Court to discuss the outstanding discovery issues. See D.E. 28, 29, and 30.

       3.      This Court granted Plaintiff’s motion and a telephone status conference is

scheduled for March 10, 2011 at 11:00 a.m.. See D.E. 30.
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        4.       Plaintiff seeks an extension to file his affidavit of attorneys’ fees and costs until

after the scheduled telephonic hearing so that the Parties and Court can discuss this issue and

other outstanding issues. It is possible that the Parties and Court may come to a conclusion that

would make the affidavit of fees and costs moot.

        5.       Accordingly, Plaintiff respectfully requests an extension to submit his affidavit of

attorneys’ fees and costs to March 14, 2011.

                                       MEMORANDUM OF LAW

        Pursuant to Fed. R. Civ. P. 6(b)(1) a court may extend the deadline for an act to be done

if good cause is shown and the request is made before the deadline expires. Here, good cause

exists to extend the deadline for Plaintiff to submit his affidavit of attorneys’ fees and costs in

order for the Parties to attend the telephonic hearing scheduled for March 10, 2011, and

potentially resolve this issue. Also, this request is made before the deadline has expired and will

not prejudice any other party if granted.

                                            3.01(g) Certification

        Plaintiff’s counsel has contacted Defendant pursuant to Local Rule 3.01(g) to inquire

whether he objects to this motion, but Defendant has not yet responded to Plaintiff’s counsel. If

Defendant responds subsequent to the filing of this Motion, Plaintiff will amend this

certification.

        WHEREFORE, Plaintiff, NESTOR BERON, respectfully requests this Court grant this

Motion and extend the deadline to submit a cost and expense affidavit to March 14, 2011.

        Respectfully submitted this 1st day of March, 2011.

 /s/ C. RYAN MORGAN
 C. Ryan Morgan, Esq.
 Florida Bar No. 0015527
 MORGAN & MORGAN, P.A.



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 Attorneys for Plaintiff



                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 1, 2011, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which I understand will send a notice of

electronic filing to the following: None. I further certify that a copy of the foregoing was served

via U.S. Mail on the following non-CM/ECF participants: Miguel Alvarez d/b/a Gustech

Communications-Orlando, 11753 South Orange Blossom Trail, Warehouse E, Orlando, FL

32837, Defendant, Pro Se.



                                             C. RYAN MORGAN
                                             C. RYAN MORGAN, ESQ.




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